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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                               TALLAHASSEE DIVISION


JOHN DOE,

       Plaintiff,

v.                                                   CASE NO. 4:17-cv-00516-MW-CAS

FLORIDA STATE UNIVERSITY BOARD
OF TRUSTEES and FRANK DENENBERG
And CODY HARTLEY, INDIVIDUAL
       Defendant.
                                          /

                         PLAINTIFF'S NOTICE OF RESOLUTION

       Plaintiffs hereby notify the Court, pursuant to N. D. Fla. Loc. R. 16.2(A), that this matter

has been amicably resolved between all parties, with each side to bear their own fees and costs.

Plaintiffs’ requests that the Court retain jurisdiction over this matter to enforce the terms of the

settlement and to address other matters as may be necessary.


                                              Respectfully submitted,


                                              /s/ Marie A. Mattox
                                              Marie A. Mattox [FBN 0739685]
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                                              ATTORNEYS FOR PLAINTIFFS
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing has been furnished by CM/ECF to all

counsel of record this 26th day of July, 2018.


                                             /s/ Marie A. Mattox
                                             Marie A. Mattox
